      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 1 of 41



                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE


INTERNATIONAL CONSTRUCTION
PRODUCTS LLC,

                            Plaintiff,

            v.                                              C.A. No. 15-_________

CATERPILLAR INC., KOMATSU                                   JURY TRIAL DEMANDED
AMERICA CORP., VOLVO
CONSTRUCTION EQUIPMENT NORTH
AMERICA, LLC and ASSOCIATED
AUCTION SERVICES, LLC, doing business
as Cat Auction Services,

                           Defendants.


                                          COMPLAINT

       Plaintiff International Construction Products LLC (“ICP”), by and through its undersigned

attorneys, brings this action for trebled compensatory damages and injunctive relief under the

antitrust laws of the United States, and for compensatory and punitive damages and injunctive relief

under state law, against the above-named Defendants, demanding a trial by jury. For its Complaint

against Defendants, Plaintiff alleges the following:

                                    NATURE OF THE CASE

       1.        This case involves an ongoing, multi-faceted and anticompetitive conspiracy among

Defendants Caterpillar Inc. (“Caterpillar”), Komatsu America Corp. (“Komatsu”), Volvo

Construction Equipment North America, LLC (“Volvo”) (collectively, the “Manufacturer

Defendants”), and Defendant Associated Auction Services, LLC, doing business as Cat Auction

Services (“Cat Auction Services”), to eliminate the threat of substantial new entry and competition in

the market for new heavy construction equipment. The new heavy construction equipment market is

                                                  1
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 2 of 41



an oligopoly protected by extremely high barriers to entry, due to the Manufacturer Defendants’

policies of requiring exclusivity from their equipment dealers. Secure from the threat of effective

new entry, the Manufacturer Defendants have for years charged prices above competitive levels for

their new heavy construction equipment.

       2.      ICP’s innovative entry into the heavy construction equipment market, selling new,

high-quality equipment at low prices directly to consumers through an increasingly popular online

marketplace for sales of heavy construction equipment, IronPlanet, promised to substantially

increase competition in the new equipment market. Selling through IronPlanet is a uniquely efficient

distribution channel for new entrants into the new heavy construction equipment market and the only

realistic means to surmount the distribution barrier to entry erected by the Manufacturer Defendants.

       3.      In direct response to ICP’s announced entry into that market, Defendants conspired to

first eliminate, and then forever bar, ICP’s access to IronPlanet. In a classic example of predation

followed by merger, the Manufacturer Defendants first threatened to boycott IronPlanet if it sold

ICP’s new heavy construction equipment, and Defendants Caterpillar and Cat Auction Services then

agreed to remove IronPlanet as an independent entity through a merger of IronPlanet and Cat

Auction Services, which is itself owned by Caterpillar and certain of its equipment dealers.

       4.      In the first stage of the conspiracy, the Manufacturer Defendants, which are (along

with their affiliates) some of the largest sellers of used heavy construction equipment on IronPlanet,

applied economic pressure to coerce IronPlanet to discontinue ongoing sales of ICP’s products,

breach an existing contract with ICP, and otherwise refrain from dealing with ICP. IronPlanet

acceded to the Manufacturer Defendants’ pressure, discontinuing sales of ICP’s products, thereby

breaching its contract with ICP and leaving ICP without feasible means to efficiently bring its

products to market.



                                                  2
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 3 of 41



       5.      In the second stage of the conspiracy, Cat Auction Services joined the Manufacturer

Defendants’ ongoing conspiracy to eliminate the threat of ICP’s entry by agreeing to merge with

IronPlanet, extinguishing any possibility that IronPlanet would deal with ICP or any other new

entrants in the future. Due to the Defendants’ conspiracy, the prospect of effective entry into the

new heavy construction equipment market is set to vanish. Defendants have thereby harmed ICP’s

business, equity, and goodwill, and eliminated innovative, low-price competition that would have

benefited U.S. consumers.

       6.      Plaintiff brings this lawsuit pursuant to Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15 and 26, and pursuant to state law, to recover trebled compensatory damages suffered by

the Plaintiff and the costs of suit, including reasonable attorney’s fees, and for punitive damages; to

enjoin the Manufacturer Defendants’ exclusive contracts with their heavy construction equipment

dealers, the merger of IronPlanet and Cat Auction Services, and the Manufacturer Defendants’ other

illegal conduct as alleged herein; and for such other relief as is afforded under the antitrust laws of

the United States for Defendants’ serial violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C.

§§ 1-2, Sections 3 and 7 of the Clayton Act, 15 U.S.C. §§ 14 and 18, and under state law.

                                            PLAINTIFF

       7.      Plaintiff International Construction Products LLC, formed under the laws of the State

of Delaware, has its principal place of business at 28 Schenck Parkway, Asheville, North Carolina,

28803. ICP imports and sells heavy construction equipment into the United States.

                                          DEFENDANTS

       8.      Defendant Caterpillar is incorporated under the laws of the State of Delaware, with its

principal place of business at 100 NE Adams Street, Peoria, Illinois, 61629.               Caterpillar

manufactures and sells heavy construction equipment, among other products, in the United States,

including sales to dealers located in Delaware.

                                                  3
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 4 of 41



       9.      Defendant Komatsu, a wholly-owned subsidiary of Komatsu Ltd., is incorporated

under the laws of the State of Georgia, with its principal place of business at 1701 Golf Road, Suite

1-100, Rolling Meadows, Illinois, 60008. Komatsu manufactures and sells heavy construction

equipment, among other products, in the United States, including sales to dealers located in

Delaware. Komatsu has registered to do business in the State of Delaware and has consented to the

service of process within Delaware by appointing The Corporation Trust Company, Corporation

Trust Center, 1209 Orange Street, Wilmington, Delaware, 19801, as its registered agent.

       10.     Defendant Volvo, a wholly owned subsidiary of Aktiebolaget Volvo, is formed under

the laws of Delaware, with its principal place of business at 312 Volvo Way, Shippensburg,

Pennsylvania, 17257. Volvo manufactures and sells heavy construction equipment, among other

products, in the United States, including sales to dealers located in Delaware.

       11.     Defendant Cat Auction Services is formed under the laws of Delaware, with its

principal place of business at 860 Blue Gentian Road, Suite 100, Eagan, Minnesota, 55121. Cat

Auction Services facilitates auctions of used heavy construction equipment within the United States.

Defendant Caterpillar is a shareholder in Cat Auction Services, along with more than twenty

Caterpillar equipment dealers, themselves governed by coercive exclusive dealing arrangements with

Caterpillar. In December 2014, Cat Auction Services announced an agreement to merge with

IronPlanet, in a transaction expected to close in the first quarter of 2015.

                         JURISDICTION, STANDING AND VENUE

       12.     Plaintiff brings this action to recover damages, including treble damages, cost of suit,

and reasonable attorney’s fees, as well as injunctive relief, arising from Defendants’ violations of

Sections 1 and 2 of the Sherman Antitrust Act, 15 U.S.C. §§ 1-2, and Sections 3 and 7 of the Clayton

Act, 15 U.S.C. §§ 14, 18.



                                                  4
        Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 5 of 41



        13.    This Court has subject matter jurisdiction of the Plaintiff’s federal claims pursuant to

28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1337 (commerce and antitrust regulation).

        14.    Plaintiff has standing to bring this action under Sections 4 and 16 of the Clayton Act,

15 U.S.C. §§ 15, 26.

        15.    This Court has subject matter jurisdiction of the Plaintiff’s pendent state law claims

pursuant to 28 U.S.C. § 1367. Each of the Plaintiff’s state law claims arise out of the same factual

nucleus as the Plaintiff’s federal law claims.

        16.    This Court has personal jurisdiction over each Defendant and venue is proper in the

District of Delaware under Sections 4 and 12 of the Clayton Act, 15 U.S.C. §§ 15, 22, and 28

U.S.C. § 1391, because each Defendant transacts business and is subject to personal jurisdiction

within the District of Delaware. Each Defendant sells heavy construction equipment in or for

delivery into Delaware, and Caterpillar, Komatsu and Volvo all have equipment dealers in Delaware.

Portions of the anticompetitive conduct alleged herein took place in Delaware, and the

anticompetitive effects of the conduct alleged herein impacted consumers in Delaware.

        17.    Defendants are engaged in, and their activities substantially affect, interstate trade and

commerce.

                THE HEAVY CONSTRUCTION EQUIPMENT INDUSTRY

        18.    Construction equipment is used in infrastructure and building construction

applications. The term “heavy construction equipment” refers to heavy-duty vehicles specifically

designed for executing various earthmoving tasks. Specific types of heavy construction equipment

include crawler dozers, rollers, motor graders, scrapers, crawler excavators, wheeled excavators,

mini-excavators, wheel loaders, skid steer loaders, backhoe loaders, crawler loaders, and track

loaders. Sales of new heavy construction equipment in the United States exceeded $14 billion in

2013.
                                                   5
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 6 of 41



          19.   Wholesale distributors, known as “equipment dealers,” are the primary channel of

distribution of heavy construction equipment to end users, who are primarily contractors and

equipment rental companies.       Equipment dealers specialize in selling and servicing heavy

construction equipment, and employ sales and service personnel dedicated to servicing the needs of

end users.

          20.   Direct sales of new heavy construction equipment by manufacturers to end users have

historically been uncommon. End users and heavy construction equipment manufacturers alike have

historically worked through equipment dealers with locations near project sites. As a result, heavy

construction equipment manufacturers have historically distributed heavy construction equipment

through local dealers in each region of the country in order to compete effectively in each such

region.

          21.   The manufacture and sale of new heavy construction equipment in the United States

is a highly concentrated market. Between 2010 and 2014, the Herfindahl-Hirschman index, a

commonly accepted measure of market concentration, for the heavy construction equipment market

was over 2500, a level characterized as “highly concentrated” by the federal antitrust enforcement

agencies. Defendant Caterpillar accounts for approximately 40 percent or more of all sales of new

heavy construction equipment in the United States, and Komatsu accounts more than 15 percent of

all such sales. Market concentration at the state level is also high. Collectively, the Manufacturer

Defendants accounted for 60 percent of the sales of certain popular types of new heavy construction

equipment sold in Delaware between 2010 and 2014.

          22.   Many of the markets for specific types of new heavy construction equipment relevant

to this case are even more highly concentrated. Each of the Manufacturer Defendants individually,

and all of them collectively, have substantial market shares in the sale of specific types of new heavy



                                                  6
       Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 7 of 41



construction equipment sold in specific local markets around the country. Because competition to

sell new heavy construction equipment has historically been local in nature, and because each type

of heavy construction equipment is generally not a substitute for another type, these product-specific

local market shares are more accurate indicators of competitive conditions than are market shares

expressed as a percentage of all sales of all types of new heavy construction equipment across the

United States.

        23.        By itself, Caterpillar has a durably dominant share of certain types of new heavy

construction equipment sold in specific local markets throughout the United States.

        24.        Caterpillar’s share of all new crawler dozer sales between 2010 and 2014 was 80

percent or higher in Alaska, 70 percent or higher in at least three states, including Arizona,

California and Colorado, and 60 percent or higher in at least five states, including Michigan,

Minnesota, Montana, Oregon, and Wyoming.

        25.        Caterpillar’s share of new motor grader sales between 2010 and 2014 was 80 percent

or higher in at least three states, including Alaska, Nevada, and Wyoming, 70 percent or higher in at

least two states, including Michigan and New Hampshire, and 60 percent or higher in at least six

states, including Arizona, California, Colorado, Idaho, Montana, and New Mexico.

        26.        Caterpillar has a durably dominant share of sales of other types of new heavy

construction equipment sold in other specific local markets throughout the United States, as will be

proven at trial.

        27.        Although smaller than Caterpillar, Komatsu also has durably high market shares of

certain types of new heavy construction equipment sold in specific local markets throughout the

United States. Between 2010 and 2014, Komatsu’s share of new excavator sales was 45 percent or

higher in Alabama, 35 percent or higher in at least four states, including Georgia, Nebraska, New



                                                   7
         Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 8 of 41



York, and Ohio, and 30 percent or higher in at least two states, including Oklahoma and West

Virginia.

         28.    Komatsu has a durably high share of sales of other types of new heavy construction

equipment sold in other specific local markets throughout the United States, as will be proven at

trial.

         29.    Although smaller than Caterpillar or Komatsu, Volvo also has durably high market

shares of certain types of new heavy construction equipment sold in specific local markets

throughout the United States. Between 2012 and 2014, Volvo’s share of new wheel loader sales was

30 percent or higher in South Carolina, 25 percent or higher in Georgia, and 20 percent or higher in

at least three states, including Connecticut, Idaho, and Indiana.

         30.    Volvo has a durably high share of sales of other types of new heavy construction

equipment sold in other specific local markets throughout the United States, as will be proven at

trial.

         31.    Together, the Manufacturer Defendants have durably high market shares of certain

types of new heavy construction equipment sold in specific local markets throughout the United

States. Between 2010 and 2014, the Manufacturer Defendants’ collective share of new wheel loader

sales was 80 percent or higher in at least three states, including Arkansas, Utah, and West Virginia,

75 percent or higher in Kentucky, 70 percent or higher in Alabama, 65 percent or higher in at least

two states, including Georgia and Pennsylvania, and 60 percent or higher in at least two states,

including Delaware and Indiana.

         32.    The Manufacturer Defendants have a durably high share of sales of other types of

new heavy construction equipment sold in other specific local markets throughout the United States,

as will be proven at trial.



                                                 8
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 9 of 41



                                 THE RELEVANT MARKETS

       33.     The relevant product market in which to evaluate the Defendants’ conduct is the

marketing and sale of new heavy construction equipment, and narrower relevant markets contained

therein (collectively, the “relevant heavy construction equipment markets”), including relevant

product markets limited to each of the following specific types of new heavy construction

equipment: crawler dozers, rollers, motor graders, scrapers, crawler excavators, wheeled excavators,

mini-excavators, wheel loaders, skid steer loaders, backhoe loaders, crawler loaders, and track

loaders.

       34.     There are no widely used substitutes for new heavy construction equipment, and no

other product significantly constrains the prices of new heavy construction equipment.

       35.     The closest substitutes for each type of new heavy construction equipment is used

heavy construction equipment of that type, but new and used heavy construction equipment trade in

different relevant product markets. New and used heavy construction equipment are differentiated in

their risk of breakdown and the vintage, quality, and productivity of embodied technology. Used

equipment normally requires more maintenance and is more likely to break down, increasing

maintenance costs and labor downtime. The relevant heavy construction equipment markets are

characterized by frequent introduction of new technologies and product features, and used equipment

is typically of lower quality and less productive per hour of use. Purchasers of heavy construction

equipment are differentiated in their preferences with respect to durability and product quality, and

in the degree to which they use labor and capital as inputs into production. Purchasers who value

product quality highly and tend to use relatively more capital than labor as factor inputs purchase

new heavy construction equipment and, after discarding used equipment, purchase new equipment

again. Purchasers who place a lower value on product quality and tend to use relatively more labor

than capital as factor inputs purchase used equipment. In this way, high valuation and low valuation
                                                 9
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 10 of 41



purchasers are sorted between the new and used heavy construction equipment markets, allowing

suppliers of new heavy construction equipment to profitably charge higher prices to purchasers of

new products without being constrained by prices in the used equipment market. Rental equipment

companies are an example of end users that typically purchase all or nearly all of their heavy

construction equipment new rather than used.

       36.     The Manufacturer Defendants’ unlawful conduct, as alleged herein, demonstrates that

they regard new heavy construction equipment as a distinct relevant market from used heavy

construction equipment. The Manufacturer Defendants tolerate the sale of many brands of used

heavy construction equipment on IronPlanet, but moved to exclude ICP from selling new heavy

construction equipment through IronPlanet. ICP’s entry with new products would not have been a

competitive threat to the Manufacturer Defendants if their new heavy construction equipment

already competed with used heavy construction equipment. The Manufacturer Defendants’ selective

exclusion of ICP from IronPlanet shows that they regard a seller of new heavy construction

equipment, even one selling at prices far below their own, as a closer competitor than sellers of used

heavy construction equipment.

       37.     The relevant geographic market is no broader than the United States. To compete

effectively within the United States, manufacturers of new heavy construction equipment need

distribution assets and relationships within the United States. Manufacturers of new heavy

construction equipment located outside the United States without such assets and relationships are

unable to obtain sufficient distribution or scale to constrain the prices charged by manufacturers of

new heavy construction equipment that have such assets and relationships.

       38.     Each and every state within the United States is also a relevant geographic market,

and smaller markets within the boundaries of many states exist as well, as will be proven at trial.



                                                 10
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 11 of 41



Manufacturers of new heavy construction equipment can and do engage in price discrimination,

charging different prices based on customers’ locations. End users of heavy construction equipment

demand convenient and expeditious service and support, and thus typically do not purchase new

heavy construction equipment from equipment dealers without an authorized service location within

75 miles. Equipment dealers typically do not resell new heavy construction equipment to other

dealers or end users outside their service areas in any substantial quantity. As a result, heavy

construction equipment manufacturers charge different prices to equipment dealers in different

states, and within certain regions within many states.

                                    BARRIERS TO ENTRY

       39.     The Manufacturer Defendants’ market positions have for many years been protected

by high barriers to entry. The most significant barrier to entry has been the success of the largest

incumbent manufacturers, including the Manufacturer Defendants, in foreclosing access to

distribution by new entrants. End users historically have purchased new heavy construction

equipment from local equipment dealers. New entrants are generally foreclosed from dealing with

existing dealers by the distribution policies of the largest incumbent manufacturers, including the

Manufacturer Defendants, which require express or functional, de facto exclusivity on the part of the

equipment dealer in selling new heavy construction equipment. Each of the Manufacturer

Defendants’ dealers purchases and takes title to new heavy construction equipment from the

Manufacturer Defendants with the understanding that they are not to deal with competing suppliers

of heavy construction equipment, including ICP.

       40.     Entrants into the new heavy construction equipment market are generally unable to

compete successfully for distribution on the “all or nothing” terms imposed by the Manufacturer

Defendants. A dealer who switches from carrying the products of one of the Manufacturer

Defendants to carrying the products of a competing supplier of heavy construction equipment runs
                                                 11
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 12 of 41



the risk of substantial lost revenues, both from the sales of new machines and from the more

lucrative service and repair of existing machines. In contrast, a new entrant will not have an

installed base of heavy construction equipment available for dealers to service and repair. While

dealers would be willing to pioneer a limited number of machine types but-for the Manufacturer

Defendants’ exclusivity policies, pioneering a new brand of heavy construction equipment on the

“all or nothing” terms imposed by the Manufacturer Defendants is a risk that most dealers are

unwilling to run. As a result, dealers are slow to switch to new entrants, in part because these

exclusivity requirements effectively require new entrants to have a nearly full-line in order to

compete successfully for distribution.

       41.     The Manufacturer Defendants’ imposition of exclusivity on their dealers is coercive

and contrary to the preference of their dealers, who generally would prefer to carry more than one

line of heavy construction equipment and thereby garner the benefits of price and service

competition among suppliers of heavy construction equipment. Smaller suppliers of heavy

construction equipment, without the market power of the Manufacturer Defendants, are not able to

impose exclusivity requirements on their dealers.

       42.     The Manufacturer Defendants’ requirements of exclusivity collectively and

individually foreclose substantial portions of the dealer market to new entrants into the relevant

heavy construction equipment markets. The foreclosure percentages attributable to each of the

Manufacturer Defendants’ exclusivity policies, and to their policies collectively, is at least equal to

their market shares in relevant markets around the country, as alleged above. See supra ¶¶ 21-32.

In the relevant heavy construction equipment market as a whole, the exclusivity policies of the

Manufacturer Defendants and the largest of the domestic incumbent manufacturers foreclose new

entrants from 85 percent or more of dealers, and foreclosure rates in smaller relevant markets around



                                                  12
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 13 of 41



the country, including those markets where the Manufacturer Defendants individually or collectively

exercise monopoly or market power, are often higher. Any remaining dealers not tied up by these

exclusivity requirements are small, capital constrained, have weaker reputations among local

consumers of new heavy construction equipment, and are too few in number to form a viable

distribution network for a new entrant.

       43.     The Manufacturer Defendants’ exclusivity policies are effectively of long duration

and are not easily terminable. As alleged above, the risk for dealers in switching from carrying the

Manufacturer Defendants’ new heavy construction equipment products to those of their rivals is

substantial. As a result, dealer switching is uncommon, and the vast majority of the Manufacturer

Defendants’ dealers have not carried competitive products in many years, despite their interest in

doing so.

       44.     For at least 30 years, the distribution barrier to entry has prevented effective entry of

new competitors into the relevant heavy construction equipment markets. The last successful entrant

into the relevant heavy construction equipment market as a whole was Komatsu, which entered in

the late 1960s. Volvo, which entered approximately 25 years ago, is the only more recent entrant

that has achieved more than 5 percent market share nationwide.

       45.     Unable to gain adequate distribution, recent entrants into the relevant heavy

construction equipment markets with high quality products have failed to achieve sufficient

distribution to meaningfully discipline the prices charged by the incumbent manufacturers. For

example, SANY Heavy Industry (“SANY”) and Guangxi LiuGong Machinery (“LiuGong”) have

both failed to gain meaningful market shares or impose competitive discipline on the Manufacturer

Defendants. Both SANY and LiuGong attempted to enter the relevant heavy construction equipment

markets by building their own network of equipment dealers to distribute their products. SANY’s



                                                  13
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 14 of 41



U.S. operation had its first profitable year in 2013, more than six years after its entry into the U.S.

market. On information and belief, in this time, SANY was able to assemble a network of only 50

relatively small, local equipment dealer branches, compared to approximately 500 local equipment

dealer branches for Caterpillar, approximately 400 local equipment dealer branches for Komatsu,

and approximately 300 local equipment dealer branches for Volvo. SANY’s 2014 revenues are

projected to be approximately $75 million. LiuGong’s U.S. operation similarly was first profitable

in 2013, five years after it entered the U.S. market. Neither SANY nor LiuGong has achieved the

necessary distribution or scale to affect market-wide price or output, and neither is projected to have

sales remotely approaching those of the Manufacturer Defendants for the foreseeable future, if ever.

       46.     The distribution barrier to entry has increased since the financial crisis of 2008, which

saw dealer groups go out of business and reduced the number of dealers potentially available to new

entrants into the relevant heavy construction equipment markets. At present, and for the foreseeable

future, there is a scarcity of distribution services available to new entrants into the relevant heavy

construction equipment markets attributable to the exclusivity policies of the Manufacturer

Defendants.

       47.     Barriers to entry at the equipment dealer level of the market are also high, preventing

new entrants into the relevant heavy construction equipment industry from entering the distribution

market to self-distribute their products. Entry into distribution would require manufacturers to have

access to a full line of heavy construction equipment, to make substantial investments in sales and

service locations in any given territory, and to have access to substantial financing.

       48.     Secure from the threat of new competitors behind the barriers to entry erected by their

exclusive distribution chains, the Manufacturer Defendants have charged supracompetitive prices to

U.S. consumers of new heavy construction equipment.



                                                  14
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 15 of 41



       49.     The relevant heavy construction equipment markets are characterized by oligopoly

pricing, whereby manufacturers take parallel price increases for similar amounts with similar

effective dates. Industry price increases are typically led by Caterpillar and followed by Komatsu

and the other incumbent manufacturers. At a minimum, the Manufacturer Defendants recognize

their interdependence with respect to price and output levels, and through the process of announcing

price increases, tracking their rivals’ responses, and supporting one another’s price increases, are

able to set prices above the competitive level.

       50.     The exclusive distribution arrangements of the Manufacturer Defendants facilitate

this coordinated collusive pricing by erecting substantial barriers to entry by new entrants who

would otherwise discipline the coordinated collusive pricing of the Manufacturer Defendants and the

other incumbent manufacturers.

                            MARKET AND MONOPOLY POWER

       51.     Caterpillar has substantial market power in the relevant heavy construction equipment

market as a whole, monopoly power within certain of the relevant heavy construction equipment

markets within certain local geographic markets, including at least the market for new crawler dozers

in Arizona, California, Colorado, Michigan, Minnesota, Montana, Oregon, and Wyoming, the

market for new motor graders in Alaska, Arizona, California, Colorado, Idaho, Michigan, Montana,

New Hampshire, Nevada, New Mexico, and Wyoming, and substantial market power within certain

of the relevant heavy construction equipment markets within certain local geographic markets.

       52.     Komatsu has substantial market power within certain of the relevant heavy

construction equipment markets within certain local geographic markets, including at least the

market for new excavators in Alabama, Georgia, Ohio, Oklahoma, Nebraska, New York, and West

Virginia.



                                                  15
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 16 of 41



       53.     Volvo has market power within certain of the relevant heavy construction equipment

markets within certain local geographic markets, including at least the market for new wheel loaders

in Connecticut, Delaware, Georgia, Indiana, Idaho, and South Carolina.

       54.     The Manufacturer Defendants collectively have substantial market or monopoly

power within certain of the relevant heavy construction equipment markets within certain local

geographic markets, including at least the market for new wheel loaders in Alabama, Arkansas,

Delaware, Georgia, Indiana, Kentucky, Pennsylvania, Utah, and West Virginia.

       55.     The substantial market and monopoly power of the Manufacturer Defendants are

protected by substantial barriers to entry. See supra ¶¶ 39-50.

ONLINE SALES OF HEAVY EQUIPMENT THROUGH IRONPLANET THREATENED
           TO ERODE THE DISTRIBUTION BARRIER TO ENTRY

       56.     The rise of IronPlanet, an online marketplace connecting buyers and sellers of heavy

construction equipment, provided the means for new entrants to surmount the distribution barrier to

entry into the relevant heavy construction equipment markets.

       57.     IronPlanet is by far the largest online marketplace for the sale of heavy construction

equipment in the United States, and the world. IronPlanet has over 1 million registered users and has

experienced a compound annual growth rate of more than 17 percent over the past seven years.

Over $4 billion of used heavy construction equipment has been sold over IronPlanet.

       58.     IronPlanet is a rapidly growing platform characterized by accelerating network

effects. Marketplaces like IronPlanet that bring together buyers and sellers in two-sided networks

are platforms. With network effects, the platform’s value to any given user largely depends on the

number of users on the network’s other side. The value of a platform such as IronPlanet to its users

grows as the platform matches demand from both sides, which results in a self-reinforcing feedback

loop of increasing participation in IronPlanet’s online marketplace by buyers and sellers of heavy


                                                 16
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 17 of 41



construction equipment. More buyers lead to more sellers, which in turn leads to still more buyers

and again to still more sellers. These network effects accruing to IronPlanet’s online marketplace

contribute to and reinforce its leading position in the online sale of heavy construction equipment.

       59.      In a 2010 filing with the Securities and Exchange Commission, IronPlanet wrote:

             By attracting significant numbers of geographically dispersed sellers and
             buyers to our marketplace, we believe we have built a network effect that
             increases the value of our services to all participants in our marketplace.
             Furthermore, we believe this value continues to increase over time as the size
             of our marketplace, and the resulting supply of and demand for used heavy
             equipment, grows.

In the same filing, IronPlanet expanded on the network effect accruing to its platform:

             As the liquidity of our marketplace continues to increase, as the numbers of
             sellers and buyers in our marketplace grows, and as our geographic coverage
             expands, we benefit from a network effect. We believe the value of our
             marketplace to both sellers and buyers increases as we add more users. More
             registrants to the marketplace allows for more prospective bidding, which
             yields higher price realization for sellers. More sellers produces a larger
             number and greater variety of listings, which makes the marketplace more
             attractive for buyers.

       60.      IronPlanet, as an alternative distribution mechanism for new heavy construction

equipment, posed a threat to the distribution barrier to entry into the relevant heavy construction

equipment markets erected by incumbent manufacturers.             IronPlanet’s success selling used

equipment has demonstrated that U.S. consumers are willing to purchase heavy construction

equipment online. The Manufacturer Defendants, fearing that this willingness would spread to the

purchase of new equipment sold by ICP at large discounts to the prices charged for new equipment

in physical dealerships, took immediate and decisive action to prevent that from occurring.

       61.      Distribution through IronPlanet is the most efficient and effective means for new

entrants into the relevant heavy construction equipment markets to distribute their products and

reach end users. All other forms of distribution available to new entrants today or in the reasonably

foreseeable future involve substantially higher costs and longer periods of time before entry could be

                                                  17
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 18 of 41



effective in disciplining the prices charged by the Manufacturer Defendants in the relevant heavy

construction equipment markets.

       62.     For a new entrant into the relevant heavy construction equipment markets, physical

auctions or their online broadcasts are not a reasonable substitute for IronPlanet. Physical auctions

require sellers to transport heavy construction equipment to the buyer’s location before a sale can be

made, substantially raising the seller’s costs. The ocean transport cost of a large crawler dozer from

China to the United States is approximately $15,000, and once landed, inland transportation costs to

an auction site can be as much as $5,000. The online auctions run by Richie Bros., the largest

domestic provider of physical, in-person auction services for heavy construction equipment, are

merely broadcasts of physical auctions held at 30 or more sites around the country, requiring sellers

through Richie Bros. to incur these substantial upfront transportation costs. Selling through Richie

Bros. is especially uneconomical for an entrant like ICP seeking to sell large volumes of new

foreign-made equipment without any assurance that a profitable sale will be made. By contrast,

selling through IronPlanet allowed ICP to defer transportation costs until after a sale is made,

lowering costs and increasing sales. Physical auctions, whether broadcast over the internet or not,

are also held only 3 to 4 times a year by any given auctioneer, while selling through IronPlanet

allows ICP and other sellers to make their products available for purchase continuously throughout

the year. Physical auctioneers also tend to sell only on an unreserved basis, while selling through

IronPlanet allowed ICP to offer its products at a fixed price, guaranteeing ICP a margin sufficient to

cover costs and an acceptable operating profit.

       63.     IronPlanet has publicly differentiated its services from those of traditional

auctioneers, claiming that “[u]nlike traditional auctions, sellers at IronPlanet achieve faster and more

profitable sales through weekly auctions, fair market value for equipment, low selling costs, and a



                                                  18
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 19 of 41



global audience of buyers. IronPlanet sells the equipment from the consignor’s location, eliminating

transportation costs for the seller.” In 2008, the then-President of IronPlanet was quoted as saying

that the costs of selling through IronPlanet were 6 to 11 percent lower than through alternative

venues, including, on information and belief, traditional auctioneers.

          64.      The Defendants admit that physical auctions are complements to, and not substitutes

for, IronPlanet. In their December 19, 2014, press release announcing the merger of IronPlanet and

Defendant Cat Auction Services, the President and CEO of Cat Auction Services was quoted as

saying:

                The live auction format from Cat Auction Services, along with IronPlanet’s
                online marketplaces, will give our customers the innovative solutions they
                are looking for to meet their inventory management requirements. This is a
                very significant merger as both companies are industry leading and clearly
                complement each other.

          65.      For a new entrant into the relevant heavy construction equipment markets, no other

existing online marketplace is a substitute for IronPlanet. EquipmentOne, the online marketplace of

Richie Bros., has a fraction of the listings, sales, and active users that IronPlanet has. In contrast to

IronPlanet’s 1 million registered users, EquipmentOne had 50,000 unique users in 2013. Richie

Bros. identifies EquipmentOne as a complement to, rather than a substitute for, the internet

broadcasts of its physical auctions. eBay, Machinery Trader, Rock and Dirt, Equipment Trader

Online, and Craigslist are similarly not substitutes for IronPlanet, due to their lack of listings for

heavy construction equipment, sales, and active qualified users, all of which are necessary to be a

viable substitute to IronPlanet for sellers and buyers of heavy construction equipment.

          66.      Building a distribution network from scratch is not an effective or timely form of

entry into the relevant heavy construction equipment markets, as demonstrated by the recent

experience of SANY and LiuGong.



                                                   19
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 20 of 41



        67.     Due to the substantial network effects that accrue to IronPlanet’s rapidly growing

platform, developing a new online marketplace comparable in reach to IronPlanet would take many

years, if it could be done at all.

        68.     The Manufacturer Defendants are, individually and collectively, minority investors in

IronPlanet. On information and belief, Defendants Caterpillar and Komatsu each have the right to

designate a director to IronPlanet’s Board of Directors.

              ICP WAS A UNIQUE COMPETITIVE THREAT TO DEFENDANTS

        69.     ICP’s business model is to serve as a master distributor of foreign, particularly

Chinese, heavy equipment manufacturers, and to bring those products to U.S. consumers at

substantially lower prices than those charged by the domestic incumbent manufacturers for

comparable products. ICP’s prices for comparable new heavy construction equipment products,

using many of the same components, are as much as 40 percent below those of the Manufacturer

Defendants. ICP planned to enter first the relevant heavy construction equipment markets, and then

to expand its product offering into other, adjacent markets such as materials handling equipment

(e.g., aerial lift platforms, cranes), agricultural equipment (e.g., tractors and combines), road

construction equipment, as well as parts and accessories for all of these products.            ICP’s

management team, directors, and advisors collectively had over 100 years of experience in senior

positions in the relevant heavy construction equipment markets, including with the Manufacturer

Defendants, and in adjacent markets. ICP’s management team had the expertise to successfully

enter the relevant heavy construction equipment markets.

        70.     China accounts for about 40 percent of global heavy construction equipment

production. Since 2012, excess production capacity for heavy construction equipment has developed

in China, and Chinese producers have looked for opportunities to export their products abroad,

including to the United States.
                                                 20
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 21 of 41



       71.     In 2011, Caterpillar’s CEO acknowledged publicly that Chinese competitors in the

U.S. would eventually emerge as a “serious threat.”

       72.     “Chinese companies have not yet learned how to make world-class cars, but they

have now cracked how to make top-quality construction equipment at attractive prices,” reported

The Economist in December 2013, “and their foreign rivals should be worried.”

       73.     In 2013, ICP contracted with Lonking Holdings Ltd. (“Lonking”), one of the world’s

largest heavy construction equipment manufacturers and the world’s leading manufacturer of wheel

loaders, to serve as Lonking’s master distributor in the United States and other markets outside

China. ICP also negotiated with or received expressions of interest from other foreign manufacturers

of heavy construction, materials handling, and agricultural equipment interested in appointing ICP as

a master distributor for sales of their products into the United States.

       74.     ICP planned to bring these foreign-made products to market in the U.S. primarily by

selling directly to end users through the internet. ICP’s internet store, ICPDirect.com, was to be

hosted and supported by IronPlanet. Sales through IronPlanet would have allowed ICP to benefit

from the substantial base of end users using IronPlanet to purchase heavy construction equipment, as

well as IronPlanet’s sales force of 300 sales representatives. Access to the IronPlanet sales force was

important to ICP’s entry because it gave ICP turnkey access to a large and experienced sales force to

stimulate demand for ICP’s products and to recruit new equipment dealers.

       75.     Even though equipment dealers are generally prevented from selling ICP equipment

by the exclusivity requirements of the largest incumbent manufacturers, including the Manufacturer

Defendants, those policies generally do not require exclusivity for maintenance and repair services.

ICP was successful in entering into arrangements with established equipment dealers around the




                                                  21
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 22 of 41



country for post-sale services for its heavy construction equipment. ICP also arranged for parts

depots around the country, ensuring wide and rapid availability of parts for service.

       76.     In this way, ICP’s business model promised to combine low priced, high-quality new

heavy construction equipment with high levels of post-sale support, sold through an innovative and

uniquely efficient distribution channel, IronPlanet. ICP’s entry through IronPlanet would have been

exponentially more disruptive than prior entrants.         Through IronPlanet, ICP would reach

approximately 80 percent of end users of heavy construction equipment immediately. By contrast,

SANY was able to reach approximately 5 percent of the U.S. market after 7 years of costly

expenditure in building a dealer network. Selling through IronPlanet would allow ICP to quickly

achieve substantial distribution and scale selling its low-priced, high-quality products to end users,

putting downward pressure on the Manufacturer Defendants’ revenues and profits.

       77.     ICP and IronPlanet signed a services agreement, called a Hosted Site Agreement

(“Agreement”), on March 3, 2014. The Agreement required IronPlanet to maintain on the IronPlanet

website links that would allow visitors to that website to purchase ICP’s product (the “Hosted

Store”), as well as to provide pre-sale customer support and transaction processing. Visitors to ICP’s

ICPDirect.com site expressing an interest in purchasing ICP’s product would be linked to the Hosted

Store, where they could complete their transaction. In return, IronPlanet would earn commissions on

sales of ICP’s products. Once the Hosted Store was commercially deployed, which it was on March

3, 2014, the Agreement was not terminable at will. Upon commercial deployment of the Hosted

Store, the Agreement had an initial term of one year, with automatic renewals of up to two

successive one-year terms, subject to either party’s right to terminate within 90 days of the end of

each one-year period.




                                                 22
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 23 of 41



       78.     IronPlanet was highly motivated to sell ICP’s products. IronPlanet had been

attempting to expand its existing business, which focused on used heavy construction equipment,

through the sale of new heavy construction equipment products on its website. The sale of new

products would allow IronPlanet (currently a privately-held company) to achieve more stable and

predictable revenues and profits, which are desirable to investors in public equity markets, and thus

to IronPlanet’s venture capitalist investors. IronPlanet’s interest in selling ICP’s products included

an interest in selling heavy construction equipment, materials handling equipment, and agricultural

equipment, and the Agreement covered sales of all of these products.

       79.     ICP reasonably forecast making hundreds of millions of dollars in revenues, and over

50 million dollars in profits, from its relationship with IronPlanet by no later than 2016, with

accelerating rates of growth in sales and profits in successive years. Access to IronPlanet’s

substantial customer base, the accelerating network effects that accrue to the IronPlanet platform and

the benefit of IronPlanet’s sales force conferred efficiencies and benefits on ICP that were not

reasonably obtainable for ICP either on its own or through any other source.

       80.     In addition to U.S. sales, ICP forecast making substantial international sales through

its services agreement with IronPlanet. More than twenty-five percent of IronPlanet’s sales of heavy

construction equipment are made to buyers outside the United States, and the Chinese products sold

by ICP have met wide acceptance in certain international markets over the past decade.

       81.     The Hosted Store went live and became commercially available to consumers on

March 3, 2014. Nineteen models of excavators, wheel loaders, and forklifts were offered for sale.

Consumers searched for ICP products on the IronPlanet Hosted Store, displaying increasing interest

in successive weeks. IronPlanet made a sale of an ICP product within just one week after the Hosted




                                                 23
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 24 of 41



Store became operational and before the IronPlanet sales force had even started to market ICP’s

products.

       82.     ICP announced its partnership with IronPlanet on March 3, 2014, at the 2014

CONEXPO-CON/AGG show, a widely-attended industry event. Representatives of the Defendants

attended ICP’s live announcement of its entry plans and its contract with IronPlanet and/or visited its

booth at the trade show. The existence of a business relationship between ICP and IronPlanet was

widely covered in the trade press. Over fifty journalists covered the live announcement of the

partnership of ICP and IronPlanet. On information and belief, Defendants knew from these sources,

and from their relationships with IronPlanet, that ICP had a contract with IronPlanet.

       83.     The trade press also covered ICP’s projections of rapid sales success and market share

growth through IronPlanet. ICP’s Chairman was quoted in a trade press article as saying that ICP

would sell 300 pieces of heavy construction equipment in the last three quarters of 2014 and make

revenues of $150 million in 2015. This article, or coverage of the same or similar statements by ICP,

was available to Defendants.

       84.     On information and belief, Defendants were aware of these projections, and

understood that they depended on ICP’s access to IronPlanet and IronPlanet’s continued course of

dealing with ICP. On March 8, 2014, ICP’s CEO was quoted in a trade press article as saying,

“IronPlanet will be the engine that drives our online sales, with pricing, warranty, financing, etc., on

to the shopping cart and check out.” This article, or coverage of the same or similar statements by

ICP, was available to Defendants.

       85.     On information and belief, Defendants were aware that ICP planned to rapidly expand

both its product offering of heavy construction equipment as well as other product categories, such

as materials handling and agricultural equipment. On March 5, 2014, ICP’s Chairman was quoted in



                                                  24
        Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 25 of 41



a trade press article as saying, “By the end of the year, we may have the fullest product line of

anyone but Caterpillar.” In the same article, ICP’s CEO was quoted as saying, “There are hundreds

of manufacturers who want to expand in the prime market here, but they fail because they don’t

know how. This gives them an avenue to market.” This article, or coverage of the same or similar

statements by ICP, was available to Defendants. ICP also announced publicly its intention to add

additional manufacturers to its product line at the live announcement of its entry and partnership

with IronPlanet on March 3, 2014.

         86.      Industry observers agreed that ICP’s relationship with IronPlanet posed a significant

competitive threat to the incumbent manufacturers. As reported in industry trade press on April 4,

2014:

               ICP plans to sell several models of Lonking excavators, wheel loaders,
               compactors and industrial lift trucks over the Internet … The ICP strategy
               could be very disruptive for the North American equipment business, if they
               succeed. Up to now all manufacturers have spent huge amounts to develop
               and maintain distributors that serve local markets. If the ICP business model
               works it could cause a sea change in the marketplace, and other foreign
               manufacturers are likely to try it as well.

         This article, or coverage of the same or similar statements about ICP, was available to

Defendants.

 ICP’S ENTRY ATTRACTED INTEREST FROM ADDITIONAL MANUFACTURERS

         87.      During and after the 2014 CONEXPO-CON/AGG show, major foreign manufacturers

of heavy construction, materials handling, and agricultural equipment expressed substantial interest

in partnering with ICP for the sale of their products in the United States through IronPlanet.

         88.      Shantui Construction Machinery Co., Ltd. (“Shantui”) is a Chinese heavy

construction equipment manufacturer and the world’s largest supplier of dozers by units sold.

Shantui’s U.S. sales manager traveled to the 2014 CONEXPO-CON/AGG show specifically to meet

with ICP personnel and attended ICP’s public announcement of its entry into the heavy construction

                                                    25
     Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 26 of 41



equipment market and its partnership with IronPlanet. Representatives of each of the Manufacturer

Defendants attended this same public announcement.         Expressions of interest by Shantui’s

management at the 2014 CONEXPO-CON/AGG show in contracting with ICP led to further top-

level meetings between Shantui and ICP in China. Shantui expressed an interest in selling Shantui

products through ICP, particularly if ICP’s entry through IronPlanet was successful.

       89.     Sunward Equipment Group (“Sunward”) is a Chinese manufacturer of heavy

construction and materials handling equipment and one of the largest manufacturers of heavy

construction equipment in the world. Sunward’s owner traveled to the 2014 CONEXPO-CON/AGG

show specifically to meet with ICP personnel and attended ICP’s public announcement of its entry

into the heavy construction equipment market and its partnership with IronPlanet. Representatives

of each of the Manufacturer Defendants attended this same public announcement. Expressions of

interest by Sunward at the 2014 CONEXPO-CON/AGG show in contracting with ICP led to further

top-level meetings between Sunward and ICP in China. Sunward expressed an interest in selling

Sunward products through ICP, particularly if ICP’s entry through IronPlanet was successful.

       90.     Xuzhou Construction Machinery Group (“XCMG”) is a Chinese manufacturer of

heavy construction and materials handling equipment and one of the largest manufacturers of heavy

construction equipment in the world. The CEO of Schwing, a U.S. subsidiary of XCMG, visited

ICP to discuss selling XCMG products in the United States through ICP and expressed an interest in

doing so, particularly if ICP’s entry through IronPlanet was successful.

       91.     KOMAC America, Inc. is a subsidiary of KOMAC, a South Korean manufacturer of

heavy construction equipment. Initial discussions between KOMAC and ICP representatives at the

2014 CONEXPO-CON/AGG show were sufficiently positive as to induce KOMAC’s owner to visit

the United States with the express purpose of meeting ICP’s management. KOMAC expressed an



                                                26
       Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 27 of 41



interest in selling KOMAC products through ICP, particularly if ICP’s entry through IronPlanet was

successful.

        92.    Talleres Betoño S.A., d/b/a Tabe Hammer (“Tabe”) is a Spanish manufacturer of

accessories for heavy construction equipment. After several communications with ICP, Tabe

expressed a readiness to appoint ICP as Tabe’s North American distributor.

                          DEFENDANTS BLOCKED ICP’S ENTRY

        93.    Defendants understood that IronPlanet’s relationship with ICP would likely result in

the disruptive and rapidly successful entry of ICP into the relevant heavy construction equipment

markets, driving prices down to the detriment of the Defendants and the benefit of consumers.

        94.    The Manufacturer Defendants and their affiliates are some of the highest-volume

sellers of used heavy construction equipment through IronPlanet. IronPlanet has in the past publicly

acknowledged the risks to its revenues and profitability if one or more of the Manufacturer

Defendants stopped selling their used heavy construction equipment though IronPlanet. Leveraging

the importance to IronPlanet of their used equipment sales, the Manufacturer Defendants threatened

to boycott and refuse to deal with IronPlanet if it did not refrain generally from doing business with

ICP.

        95.    Each of the Manufacturer Defendants communicated the same or similar threat to

IronPlanet within days of one another, whereby the Manufacturer Defendants would stop selling

used heavy construction equipment through IronPlanet if IronPlanet continued to do business with

ICP. The Manufacturer Defendants induced IronPlanet’s breach of its contract with ICP with the

sole purpose of maintaining their market power in the relevant heavy construction equipment

markets by eliminating ICP as a threatening and disruptive new market entrant selling new heavy

construction equipment from Lonking or other new heavy construction equipment manufacturers.



                                                 27
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 28 of 41



The Manufacturer Defendants do not themselves sell new heavy construction equipment through

IronPlanet, and had no interest in competing with ICP to do so.

       96.     IronPlanet contemporaneously communicated the fact and substance of these

communications to ICP. On or about April 3, 2014, IronPlanet’s President informed ICP’s

Chairman that Caterpillar, and at least one other manufacturer of heavy construction equipment, had

threatened to stop doing business with IronPlanet if IronPlanet continued to deal with ICP. On or

about April 10, 2014, IronPlanet’s President, in response to a question from ICP’s Chairman as to

the identity of the other manufacturers (in addition to Caterpillar) that were forcing IronPlanet to

breach its contract with ICP, replied “you know who our investors are.”

       97.     IronPlanet’s investors are the Manufacturer Defendants and venture capital firms.

IronPlanet’s venture capital investors could not have made the threats described by IronPlanet to ICP

because they have no heavy construction equipment to withhold from IronPlanet and because, as

alleged above, IronPlanet saw a substantial economic opportunity in the contract with ICP, including

smoother financial earnings that could lead to an IPO and a selling opportunity with substantial

economic benefits for IronPlanet’s venture capital investors. The Manufacturer Defendants, on the

other hand, had every incentive to prevent ICP from selling Lonking new heavy construction

equipment through IronPlanet, and to prevent ICP from entering into agreements with other

manufacturers of new heavy construction equipment enabling ICP to sell those manufacturers’ new

heavy construction equipment through IronPlanet, as ICP had disclosed in the March 5, 2014 trade

press article. Thus, the threats to IronPlanet made by its “investors” and relayed to ICP by

IronPlanet could have come only from the Manufacturer Defendants.

       98.     On information and belief, the Manufacturer Defendants agreed and conspired with

one another to issue these threats to IronPlanet and to pressure IronPlanet to refrain from dealing



                                                 28
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 29 of 41



with ICP. The Manufacturer Defendants had the motive and opportunity to conspire to this end and

did not have sufficient unilateral incentives to engage in this costly and risky conduct absent an

agreement that all of the Manufacturer Defendants would do so.

       99.     The Manufacturer Defendants’ investments in IronPlanet make them highly

interdependent with respect to the terms on which they would be willing to deal with IronPlanet, and

give the Manufacturer Defendants the incentive and ability to coordinate those terms. A refusal to

deal with IronPlanet by any Manufacturer Defendant would tend to impair the value of all of the

Manufacturer Defendants’ investments in IronPlanet, and would have called for and triggered

coordination among the Manufacturer Defendants to avoid conflicts of interest. Upon information

and belief, the Manufacturer Defendants met and conferred with one another about the terms on

which they would refuse to do business with IronPlanet.

       100.     The Manufacturer Defendants lacked the incentive to issue their threats to IronPlanet

absent an agreement that they would each engage in this conduct. The Manufacturer Defendants’

threats were costly and risky, exposing each individually to the risk of substantial lost sales through

IronPlanet, if IronPlanet did not accede to their demands, and to the possibility of legal action from

demanding conduct they knew to be a breach of contract with ICP, if IronPlanet did accede. In

contrast, the benefits of excluding ICP from the relevant heavy construction equipment markets

would be felt commonly among the Manufacturer Defendants and their competitors. This

concentrated-cost but distributed-benefit dynamic would have resulted in parallel conduct only when

coordinated by communication and agreement among the Manufacturer Defendants.

       101.    The Manufacturer Defendants’ threats to IronPlanet marked a sudden departure from

their past practice of tolerating sales of a wide range of used heavy construction equipment through

IronPlanet. Upon information and belief, the Manufacturer Defendants have not previously



                                                  29
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 30 of 41



demanded that IronPlanet refrain from dealing with any manufacturer or supplier of heavy

construction equipment.

          102.   IronPlanet acceded to the heavy economic pressure applied by the Defendants.

IronPlanet informed ICP that IronPlanet would not perform the terms of the Agreement. IronPlanet

discontinued sales and transaction support for ICP’s products, delivering written notice of

termination on April 7, 2014. These acts by IronPlanet constituted an unlawful breach of the

Agreement with ICP. IronPlanet’s termination letter identified no excuse or justification for its

breach, and characterized IronPlanet’s breach as “an unfortunate circumstance.”

          103.   The Manufacturer Defendants knew that IronPlanet’s termination of its contract with

ICP, and its sales and transaction support of ICP’s products, would cause other new heavy

equipment manufacturers to stop attempting to expand their sales in the United States by dealing

with ICP or by working through ICP to gain access to IronPlanet’s sales platform.

          104.   The incentives of the Manufacturer Defendants and IronPlanet were not aligned with

respect to IronPlanet’s dealing with ICP. IronPlanet’s coerced termination of its contract with ICP

was contrary to IronPlanet’s economic interest, as this conduct exposed IronPlanet to legal liability

and was unprofitable for IronPlanet. As alleged above, IronPlanet was highly motivated to deal with

ICP. IronPlanet breached the Agreement just days after senior executives of ICP and IronPlanet met

and discussed ways to further expand sales of ICP products on IronPlanet. The heavy economic

pressure applied by the Manufacturer Defendants to IronPlanet was intended to further their own

commercial interests at the expense of IronPlanet’s interests. In the telephone call between ICP and

IronPlanet that occurred on or about April 10, 2014, IronPlanet’s President said that the

Manufacturer Defendants’ actions in forcing IronPlanet’s breach were “wrong” and “make no sense

to me.”



                                                 30
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 31 of 41



 THE DEFENDANTS CONSPIRED TO ELIMINATE THE THREAT OF NEW ENTRY
  BY ELIMINATING IRONPLANET AS AN INDEPENDENT CHANNEL FOR NEW
                             ENTRY

        105.    Having eliminated the immediate threat of ICP’s rapid and effective entry through

IronPlanet, Defendants Caterpillar and Cat Auction Services then conspired to forever eliminate that

threat by bringing IronPlanet under the control of Caterpillar and its dealers, the owners of

Defendant Cat Auction Services. The merger of these two entities in which Caterpillar holds

minority stakes could not have reasonably been achieved except through Caterpillar’s knowing

participation and support, and Caterpillar’s influence with its equipment dealers, the other

shareholders in Cat Auction Services. In the alternative, Cat Auction Services knowingly offered

substantial assistance to the Manufacturer Defendants’ ongoing conspiratorial and anticompetitive

campaign to eliminate the threat of ICP’s entry through IronPlanet by agreeing to merge with

IronPlanet.

        106.    Due to Caterpillar’s policy of requiring exclusivity on the part of its dealers, the

incentives of Caterpillar and its dealers are aligned with respect to erecting barriers to ICP’s effective

entry into the relevant heavy construction equipment markets. Thus, Cat Auction Services had the

motive to join the Manufacturer Defendants’ ongoing conspiracy to eliminate the threat of ICP’s

entry through IronPlanet. The merger of IronPlanet and Cat Auction Services will align IronPlanet’s

incentives with those of Caterpillar and its dealers with respect to dealing with ICP and other new

entrants and will ensure that IronPlanet will never again facilitate the entry of ICP and other new

competitors into the relevant heavy construction equipment markets.

        107.    Deprived of efficient distribution through IronPlanet, ICP has no feasible way to

reach consumers in the heavy construction equipment markets. ICP’s equity and goodwill have been

damaged as a result of Defendants’ actions. ICP’s flagship partner, IronPlanet, has broken off any

business relationship with ICP, and ICP’s products are no longer available through IronPlanet.
                                                   31
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 32 of 41



Market participants are aware of these facts. ICP’s 2014 revenues were a small fraction of what they

would have been but-for the Defendants’ conduct. These effects will continue for years to come as

ICP suffers from lack of distribution and harm to its reputation with consumers and suppliers of

heavy construction equipment alike. Foreign manufacturers of heavy construction, materials

handling, and agricultural equipment have been deterred from dealing with ICP by the Defendants’

conduct.

       108.    ICP has taken all reasonable steps to mitigate its damages, including trying to set up

equipment dealers in an attempt to challenge frontally the Manufacturer Defendants’ distribution

barrier to entry. These efforts have been unsuccessful in challenging the Manufacturer Defendants’

collective dominance of the relevant heavy construction equipment markets, or in mitigating ICP’s

damaged equity, damaged goodwill, lost sales, and lost profits caused by the Defendants’ conduct.

                          DEFENDANTS’ UNLAWFUL CONDUCT

       109.    The Manufacturer Defendants’ imposition of exclusive distribution arrangements on

their equipment dealers has foreclosed new entrants from access to efficient distribution necessary to

offer meaningful competition to the Manufacturer Defendants. The Manufacturer Defendants’

exclusivity arrangements with their dealers create substantial barriers to entry that facilitate

coordinated oligopoly pricing by the Manufacturer Defendants and the other domestic incumbent

manufacturers of heavy construction equipment. The Manufacturer Defendants’ exclusivity

arrangements have no legitimate business justification that outweighs their anticompetitive effect of

excluding new entrants and facilitating coordination among the Manufacturer Defendants and the

other domestic incumbent manufacturers of heavy construction equipment. Plaintiff has standing to

challenge these exclusivity arrangements because they have erected barriers to Plaintiff’s entry and

created the environment whereby the Manufacturer Defendants could exclude Plaintiff from the

relevant markets by excluding Plaintiff from making sales through IronPlanet.
                                                 32
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 33 of 41



        110.     The Manufacturer Defendants’ threats to boycott and refuse to deal with IronPlanet if

IronPlanet continued dealing with ICP foreclosed ICP from the most efficient distribution channel

for a new entrant that had not already been foreclosed by the exclusivity arrangements of the

Manufacturer Defendants and the other incumbent manufacturers, leading to damaged equity and

goodwill for ICP, lower revenues and profits for ICP, and higher prices for end users of these

products. Upon information and belief, the Manufacturer Defendants agreed with one another to

issue these threats and refusals to deal. In the alternative, each of the Manufacturer Defendants acted

unilaterally in threatening to refuse to deal with IronPlanet if IronPlanet continued dealing with ICP.

        111.     The merger of Cat Auction Services and IronPlanet is anticompetitive due to its

tendency to substantially reduce competition in the relevant heavy construction equipment markets

and to foreclose the possibility of effective entry into those markets by new entrants.

        112.     Defendants’ conduct has caused damage to ICP’s equity and goodwill and caused ICP

lost sales and lost profits.

                                      CLAIMS FOR RELIEF

                                           COUNT ONE:
               The Manufacturer Defendants Have Unreasonably Restrained Trade
                                       (Lost Profits)

        113.     Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint.            The

Manufacturer Defendants’ conduct as alleged therein are unreasonable restraints of trade in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        114.     The Manufacturer Defendants’ exclusivity arrangements with dealers in the relevant

heavy construction equipment markets unreasonably restrain trade by erecting substantial barriers to

entry by new entrants and facilitating coordinated collusive pricing among the Manufacturer

Defendants and the other incumbent manufacturers of heavy construction equipment.


                                                  33
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 34 of 41



       115.    The Manufacturer Defendants’ agreements with one another that each would threaten

to boycott IronPlanet if IronPlanet did not breach its contract with ICP and otherwise refrain from

dealing with ICP was an unlawful group boycott.

       116.    This conduct has damaged ICP in the form of lost profits.

                                         COUNT TWO:
            The Manufacturer Defendants Have Unreasonably Restrained Trade
                            (Damaged Equity and Goodwill)

       117.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint.            The

Manufacturer Defendants’ conduct as alleged therein are unreasonable restraints of trade in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       118.    The Manufacturer Defendants’ exclusivity arrangements with dealers in the relevant

heavy construction equipment markets unreasonably restrain trade by erecting substantial barriers to

entry by new entrants and facilitating coordinated collusive pricing among the Manufacturer

Defendants and the other incumbent manufacturers of heavy construction equipment.

       119.    The Manufacturer Defendants’ agreements with one another that each would threaten

to boycott IronPlanet if IronPlanet did not breach its contract with ICP and otherwise refrain from

dealing with ICP was an unlawful group boycott.

       120.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                        COUNT THREE:
               The Manufacturer Defendants’ Exclusivity Policies Violate the
                               Clayton Act (Lost Profits)

       121.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint.            The

Manufacturer Defendants’ conduct in requiring exclusivity of their equipment dealers substantially




                                                 34
     Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 35 of 41



lessens competition, or tends to create a monopoly, in the relevant heavy construction equipment

markets in violation of Section 3 of the Clayton Act, 15 U.S.C. § 14.

       122.    This conduct has damaged ICP in the form of lost profits.

                                        COUNT FOUR:
               The Manufacturer Defendants’ Exclusivity Policies Violate the
                      Clayton Act (Damaged Equity and Goodwill)

       123.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. The

Manufacturer Defendants’ conduct in requiring exclusivity of their equipment dealers

substantially lessens competition, or tends to create a monopoly, in the relevant heavy

construction equipment markets in violation of Section 3 of the Clayton Act, 15 U.S.C. § 14.

       124.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of

ICP as a going concern.

                                         COUNT FIVE:
                 Caterpillar Has Monopolized Relevant Heavy Construction
                             Equipment Markets (Lost Profits)

       125.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Caterpillar’s

conduct as alleged therein constitutes monopolization and attempted monopolization of relevant

heavy construction equipment markets in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

Caterpillar acted with the specific intent to acquire or maintain monopoly power. Caterpillar’s

conduct is reasonably capable of maintaining monopoly power, or has a dangerous probability of

success in attaining monopoly power.

       126.    This conduct has damaged ICP in the form of lost profits.




                                                35
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 36 of 41



                                          COUNT SIX:
                 Caterpillar Has Monopolized Relevant Heavy Construction
                   Equipment Markets (Damaged Equity and Goodwill)

       127.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Caterpillar’s

conduct as alleged therein constitutes monopolization and attempted monopolization of relevant

heavy construction equipment markets in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

Caterpillar acted with the specific intent to acquire or maintain monopoly power. Caterpillar’s

conduct is reasonably capable of maintaining monopoly power or has a dangerous probability of

success in attaining monopoly power.

       128.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                       COUNT SEVEN:
               The Manufacturer Defendants Conspired to Monopolize (Lost
                                       Profits)

       129.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint.           The

Manufacturer Defendants’ conduct as alleged therein constitutes a conspiracy to monopolize relevant

heavy construction equipment markets in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

The Manufacturer Defendants acted with the specific intent to acquire or maintain monopoly power

and took overt acts in furtherance of their conspiracy. The Manufacturer Defendants’ conduct is

reasonably capable of maintaining monopoly power or has a dangerous probability of success in

attaining monopoly power.

       130.    This conduct has damaged ICP in the form of lost profits.




                                                36
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 37 of 41



                                        COUNT EIGHT:
              The Manufacturer Defendants Conspired to Monopolize (Damaged
                                  Equity and Goodwill)

       131.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint.           The

Manufacturer Defendants’ conduct as alleged therein constitutes a conspiracy to monopolize relevant

heavy construction equipment markets in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

The Manufacturer Defendants acted with the specific intent to acquire or maintain monopoly power

and took overt acts in furtherance of their conspiracy. The Manufacturer Defendants’ conduct is

reasonably capable of maintaining monopoly power or has a dangerous probability of success in

attaining monopoly power.

       132.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                         COUNT NINE:
               Cat Auction Services’ Merger with IronPlanet is Anticompetitive
                                       (Lost Profits)

       133.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. The merger

agreement of Cat Auction Services and IronPlanet violates Section 7 of the Clayton Act, 15 U.S.C. §

18, and Section 1 of the Sherman Act, 15 U.S.C. § 1, by substantially lessening competition, tending

to create a monopoly and unreasonably restraining trade in the relevant heavy construction

equipment markets.

       134.    This conduct has damaged ICP in the form of lost profits.

                                         COUNT TEN:
               Cat Auction Services’ Merger with IronPlanet is Anticompetitive
                              (Damaged Equity and Goodwill)

       135.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. The merger

agreement of Cat Auction Services and IronPlanet violates Section 7 of the Clayton Act, 15 U.S.C. §


                                                37
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 38 of 41



18, and Section 1 of the Sherman Act, 15 U.S.C. § 1, by substantially lessening competition, tending

to create a monopoly and unreasonably restraining trade in the relevant heavy construction

equipment markets.

       136.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                       COUNT ELEVEN:
            Manufacturer Defendants’ Tortious Interference with Contract (Lost
                                        Profits)

       137.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Manufacturer Defendants’ conduct as alleged therein constitutes tortious interference with contract.

       138.    This conduct has damaged ICP in the form of lost profits.

                                       COUNT TWELVE:
               Manufacturer Defendants’ Tortious Interference with Contract
                            (Damaged Equity and Goodwill)

       139.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Manufacturer Defendants’ conduct as alleged therein constitutes tortious interference with contract.

       140.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                      COUNT THIRTEEN:
              Manufacturer Defendants’ Tortious Interference with Prospective
                            Business Relations (Lost Profits)

       141.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Manufacturer Defendants’ conduct as alleged therein constitutes tortious interference with ICP’s

prospective business relations with IronPlanet in the future, and with foreign manufacturers of heavy

construction, materials handling, and agricultural equipment, including Shantui, Sunward, XCMG,

KOMAC and Tabe.


                                                 38
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 39 of 41



       142.    This conduct has damaged ICP in the form of lost profits.

                                     COUNT FOURTEEN:
              Manufacturer Defendants’ Tortious Interference with Prospective
                   Business Relations (Damaged Equity and Goodwill)

       143.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Manufacturer Defendants’ conduct as alleged therein constitutes tortious interference with ICP’s

prospective business relations with IronPlanet in the future, and with foreign manufacturers of heavy

construction, materials handling, and agricultural equipment, including Shantui, Sunward, XCMG,

KOMAC and Tabe.

       144.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                       COUNT FIFTEEN:
                                 Civil Conspiracy (Lost Profits)

       145.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Defendants’ conduct as alleged therein constitutes civil conspiracy.

       146.    This conduct has damaged ICP in the form of lost profits.

                                       COUNT SIXTEEN:
                      Civil Conspiracy (Damaged Equity and Goodwill)

       147.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. Each of the

Defendants’ conduct as alleged therein constitutes civil conspiracy.

       148.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.




                                                 39
      Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 40 of 41



                                    COUNT SEVENTEEN:
                               Aiding and Abetting (Lost Profits)

       149.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. The conduct of

the Defendants, including the merger of Cat Auction Services and IronPlanet, constitutes aiding and

abetting of the Defendants’ ongoing tortious and anticompetitive conduct aimed at ICP.

       150.    This conduct has damaged ICP in the form of lost profits.

                                     COUNT EIGHTEEN:
                      Aiding and Abetting (Damaged Equity and Goodwill)

       151.    Plaintiff hereby restates Paragraphs 1 through 112 of this Complaint. The conduct of

the Defendants, including the merger of Cat Auction Services and IronPlanet, constitutes aiding and

abetting of the Defendants’ ongoing tortious and anticompetitive conduct aimed at ICP.

       152.    This conduct has damaged ICP’s equity and goodwill, diminishing the value of ICP

as a going concern.

                                   REQUEST FOR RELIEF

       153.    To remedy these illegal acts, Plaintiff requests the Court:

               a.      Enter an injunction permanently enjoining the Manufacturer Defendants from

       entering into, or permitting to exist or continue, exclusivity arrangements with dealers in the

       relevant markets that unreasonably restrain trade, substantially lessen competition, or tend to

       create a monopoly by erecting substantial barriers to new entry or facilitating coordinated

       pricing among manufacturers in the relevant markets, as well as the other unlawful conduct

       of the Manufacturer Defendants as alleged herein;

               b.      Order the divestiture of IronPlanet by Cat Auction Services;

               c.      Award compensatory and trebled damages in favor of the Plaintiff and against

       all Defendants, jointly and severally, and punitive damages, including all interest thereon;


                                                 40
     Case 5:20-cv-00226-TKW-MJF Document 1 Filed 01/29/15 Page 41 of 41



             d.      Award Plaintiff reasonable costs and expenses incurred in this action,

      including attorney’s fees and expert fees; and

             e.      Any such further relief as the Court deems appropriate.



                                                   /s/ John W. Shaw
                                                   JOHN W. SHAW (No. 3362)
                                                   SHAW KELLER LLP
                                                   300 Delaware Avenue, Suite 1120,
                                                   Wilmington, DE 19801
                                                   (302) 298-0701
                                                   jshaw@shawkeller.com

                                                   DAVID BOIES
                                                   BOIES, SCHILLER & FLEXNER LLP
                                                   575 Lexington Avenue
                                                   7th Floor
                                                   New York, NY 10022
                                                   (212) 446-2300

                                                   JAMES P. DENVIR
                                                   CHRISTOPHER G. RENNER
                                                   BOIES, SCHILLER & FLEXNER LLP
                                                   5301 Wisconsin Avenue NW
                                                   Washington, DC 20015
                                                   (202) 237-2727

                                                   Counsel for International Construction
                                                   Products LLC
Dated: January 29, 2015




                                              41
